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 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
 2

 3
      UNITED STATES OF AMERICA                )
 4                                            )
      vs.                                     ) Criminal Action
 5                                            )
      HERZZON SANDOVAL,                       ) No. 15-10338-FDS
 6    EDWIN GUZMAN,                           )
      CESAR MARTINEZ,                         )
 7    ERICK ARGUETA LARIOS,                   )
                         Defendants           )
 8

 9
      BEFORE:    THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                 JURY TRIAL DAY 19
12

13
                 John Joseph Moakley United States Courthouse
14                              Courtroom No. 2
                               1 Courthouse Way
15                             Boston, MA 02210

16                               February 26, 2018
                                    9:03 a.m.
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23                             Valerie A. O'Hara
                            Official Court Reporter
24               John Joseph Moakley United States Courthouse
                          1 Courthouse Way, Room 3204
25                             Boston, MA 02210
                           E-mail: vaohara@gmail.com
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 1    APPEARANCES:

 2    For The United States:

 3         United States Attorney's Office, by CHRISTOPHER J. POHL,
      ASSISTANT UNITED STATES ATTORNEY, and KELLY BEGG LAWRENCE,
 4    ASSISTANT UNITED STATES ATTORNEY, 1 Courthouse Way, Suite 9200,
      Boston, Massachusetts 02110;
 5
      For the Defendant Herzzon Sandoval:
 6
           Foley Hoag LLP, by MARTIN F. MURPHY, ESQ. and
 7    MADELEINE K. RODRIGUEZ, ATTORNEY,
      155 Seaport Boulevard, Boston, Massachusetts 02210;
 8
      For the Defendant Edwin Guzman:
 9
           Lawson & Weitzen, by SCOTT P. LOPEZ, ESQ.,
10    88 Black Falcon Avenue, Suite 345, Boston, Massachusetts 02210

11    For the Defendant Erick Arueta Larios:

12         THOMAS J. IOVIENO, ESQ., 345 Neponset Street
      Canton, MA 02021;
13
      For the Defendant Cesar Martinez:
14
           STANLEY W. NORKUNAS, ESQ., 11 Kearney Square,
15    Howe Building, Suite 202, Lowell, Massachusetts 01852.

16         ROBERT M. SALTZMAN, ESQ., 1 Central Street, Suite 5,
      Stoneham, Massachusetts 02180.
17
      ALSO PRESENT:     Gabriel Haddad, Spanish Interpreter
18                      Carrie Lilley, Spanish Interpreter

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           1                                   PROCEEDINGS

           2               THE CLERK:    All rise for the jury.

           3               (JURORS ENTERED THE COURTROOM.)

           4               THE CLERK:    Thank you.    You may be seated.

           5               THE COURT:    Ladies and gentlemen, welcome back.         I

           6    hope you had a good weekend.       It looks like all twelve of you

           7    are here plus the three alternates, so I will instruct you to

           8    retire and resume your deliberations, and as before, if I

           9    haven't heard from you by about five minutes to five, I'll

09:10AM   10    check in and see where you are.        All right.

          11               THE CLERK:    All rise.

          12               (JURORS EXITED THE COURTROOM.)

          13               (Jury deliberating)

          14               THE CLERK:    All rise for the jury.

          15               (JURORS ENTERED THE COURTROOM.)

          16                                    VERDICT

          17               THE COURT:    All right.    Foreperson of the jury, have

          18    you reached a unanimous verdict?

          19               FOREPERSON OF THE JURY:      Should I stand up?       Yes, we

02:04PM   20    have.

          21               THE COURT:    If you could please hand the verdict form

          22    to the clerk.     All right.    The verdict form appears to be in

          23    order.   Would the defendants please stand, and I'll ask the

          24    clerk to read the verdict form.

          25               THE CLERK:    As to Count 2, conspiracy to conduct
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           1    enterprise affairs through a pattern of racketeering activity,

           2    we, the jury, find:

           3               As to Defendant Herzzon Sandoval, a/k/a "Casper,"

           4    guilty;

           5               As to Defendant Edwin Guzman, a/k/a "Playa," guilty;

           6               As to Defendant Cesar Martinez, a/k/a "Cheche," not

           7    guilty;

           8               As to Defendant Erick Argueta Larios, a/k/a "Lobo,"

           9    guilty.

02:05PM   10               As to Count 3, conspiracy to possess with intent to

          11    distribute and to distribute cocaine, we, the jury, find:

          12               Defendant Cesar Martinez, a/k/a "Cheche," guilty.

          13               As to Defendant Erick Argueta Larios, a/k/a, "Lobo,"

          14    not guilty.

          15               As to Count 3, conspiracy to possess with intent to

          16    distribute and to distribute cocaine, we, the jury, find:

          17               As to Defendant Cesar Martinez, a/k/a, "Cheche," 500

          18    grams or more of a mixture of substance containing detectable

          19    amount of cocaine are attributable to and reasonably

02:06PM   20    foreseeable to Defendant Cesar Martinez, a/k/a, "Cheche,"

          21    signed by the foreperson.

          22               All right.    Thank you, you may be seated.       Is there a

          23    request to poll the jury?

          24               MR. LOPEZ:    Yes, your Honor.

          25               THE CLERK:    Juror in Seat Number 1, do you agree with
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           1    the verdict as it has been read into the record?

           2               JUROR IN SEAT NUMBER 1:      Yes.

           3               THE CLERK:    Juror in Seat Number 2, do you agree with

           4    the verdict as it has been read into the record?

           5               JUROR IN SEAT NUMBER 2:      Yes.

           6               THE CLERK:    Juror in Seat Number 4, do you agree with

           7    the verdict as it has been read into the record?

           8               JUROR IN SEAT NUMBER 4:      Yes.

           9               THE CLERK:    Juror in seat 5, do you agree with the

02:06PM   10    verdict as it has been read into the record?

          11               JUROR IN SEAT NUMBER 5:      Yes.

          12               THE CLERK:    Juror in Seat Number 8, do you agree with

          13    the verdict as it has been read into the record?

          14               JUROR IN SEAT NUMBER 8:      Yes.

          15               THE CLERK:    Juror in Seat Number 9, do you agree with

          16    the verdict as it has been read into the record?

          17               JUROR IN SEAT NUMBER 9:      Yes.

          18               THE CLERK:    Juror in Seat Number 11, do you agree with

          19    the verdict as it has been read into the record?

02:06PM   20               JUROR IN SEAT NUMBER 11:      Yes.

          21               THE CLERK:    Juror in Seat Number 12, do you agree with

          22    the verdict as it has been read into the record?

          23               JUROR IN SEAT NUMBER 12:      Yes.

          24               THE CLERK:    Juror in Seat Number 13, do you agree with

          25    the verdict as it has been read into the record?
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           1               JUROR IN SEAT NUMBER 13:      Yes.

           2               THE CLERK:    Juror in Seat Number 14, do you agree with

           3    the verdict as it has been read into the record?

           4               JUROR IN SEAT NUMBER 14:      Yes.

           5               THE CLERK:    Juror in Seat Number 15, do you agree with

           6    the verdict as it has been read into the record?

           7               JUROR IN SEAT NUMBER 15:      Yes.

           8               THE CLERK:    Juror in Seat Number 15, do you agree with

           9    the verdict as it has been read into the record?

02:07PM   10               JUROR IN SEAT NUMBER 15:      Yes.

          11               THE CLERK:    Juror in Seat Number 16, do you agree with

          12    the record as it has been read into the record?

          13               JUROR IN SEAT NUMBER 16:      Yes.

          14               THE CLERK:    Thank you.

          15               THE COURT:    All right.    Ladies and gentlemen,

          16    thank you.    You are hereby discharged.        I want to personally

          17    thank you and on behalf of the Court thank you for your

          18    devotion and dedication to service.        If you're willing to stay

          19    for a few moments, I need to talk to the lawyers quickly, and

02:07PM   20    I'd like to thank you personally up in the jury room if you

          21    have a moment, but thank you, and you are all hereby

          22    discharged.

          23               THE CLERK:    All rise.

          24               (JURORS EXITED THE COURTROOM.)

          25               THE COURT:    All right.    Addressing myself to the four
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           1    defendants, a written pre-sentence report will be prepared by

           2    probation to assist me in determining your sentence.             You will

           3    be asked to give information for that report.          Your lawyer may

           4    be present, if you wish.

           5               It is important that the report be accurate.           It will

           6    not only affect what sentence you receive but what happens to

           7    you after you are sentenced.       For example, if you are sent to

           8    prison, it will affect where you are sent and what happens to

           9    you when you get there.      Even minor mistakes in the report

02:08PM   10    should be corrected.

          11               You'll have a chance to read that report or have it

          12    read to you in Spanish and to go over it with your lawyer and

          13    to make objections to it before the time of sentencing, and

          14    both your lawyer and you personally will have the opportunity

          15    to speak on your behalf at the time of sentencing.

          16               I will therefore refer you to probation for the

          17    presentence investigation and preparation of the report.            That

          18    process usually takes about 12 weeks to complete, and so I will

          19    set sentence as follows:

02:09PM   20               As to Defendant Sandoval, Tuesday, May 29th at 2:00.

          21               As to Defendant Guzman, Wednesday May 30th at 2:00.

          22               As to Defendant Martinez, Thursday, May 31st at 2:00.

          23               And as to Defendant Larios, Friday, June 1st at 2:00.

          24               And I'll order that all defendants remain detained

          25    pending imposition of the sentence.        I'll direct the clerk to
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           1    put the verdict form on the docket.

           2               Is there anything else, Mr. Pohl?

           3               MR. POHL:    No, thank you very much, your Honor.

           4               THE COURT:    Anything from the defendants?

           5               MR. GUZMAN:    Yes, your Honor, I want a different

           6    attorney, please.

           7               THE COURT:    All right.    Either I'll have your attorney

           8    file a notice of appeal or the clerk will file one for you, and

           9    we'll take up your request at a later time.

02:10PM   10               MR. GUZMAN:    Thank you, your Honor.

          11               THE COURT:    Thank you.    We'll stand in recess.

          12               (Whereupon, the hearing was adjourned at 2:10 p.m.)

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 1                             C E R T I F I C A T E

 2

 3    UNITED STATES DISTRICT COURT )

 4    DISTRICT OF MASSACHUSETTS ) ss.

 5    CITY OF BOSTON )

 6

 7                I do hereby certify that the foregoing transcript was

 8    recorded by me stenographically at the time and place aforesaid

 9    in Criminal Action No. 15-10338-FDS, UNITED STATES vs.

10    HERZZON SANDOVAL, et al., and thereafter by me reduced to

11    typewriting and is a true and accurate record of the

12    proceedings.

13                Dated this 22nd day of June, 2018.

14                                s/s Valerie A. O'Hara

15                                _________________________

16                                 VALERIE A. O'HARA

17                                 OFFICIAL COURT REPORTER

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